         Case 2:23-cv-00182-SGC Document 13 Filed 03/07/23 Page 1 of 2                                  FILED
                                                                                               2023 Mar-07 AM 09:24
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION
MARGARET MITCHELL, as                             )
Administratrix of the pending Estate of           )
Anthony Don Mitchell,                             )
                                                  )
       Plaintiff,                                 )   Case No.: 2:23-cv-182-SGC
                                                  )
v.                                                )
                                                  )
NICH SMITH, SHERIFF, et al.,                      )

       Defendants.

             ORDER REGARDING COMPLIANCE WITH RULE 26

       The parties are reminded to conduct a conference pursuant to Rule 26(f) of

the Federal Rules of Civil Procedure. The parties must confer no later than

twenty-one (21) days after the entry date of this order. During the Rule 26(f)

conference, the parties' discussions shall cover the following topics:

           • the nature and basis of the claims and defenses and the possibility of a
             prompt settlement or resolution of the case through formal mediation
             or informal settlement negotiations;
           • a proposed discovery plan, including deadlines for the matters
             addressed in sub-paragraphs (1) through (4) of Rule 26(f) and a
             protocol to govern the search and production of electronically stored
             information; and
           • the need for a protective order for disclosure of "protected health
             information."1

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  If the court's standard HIPAA protective order is required, the parties may indicate this in their
joint report of planning meeting. If the parties require a HIPAA order tailored to the case, the
moving party should email a proposed draft order to the chambers' email address upon the filing
of a motion.
        Case 2:23-cv-00182-SGC Document 13 Filed 03/07/23 Page 2 of 2




      If the parties are unable to agree upon a date, time, or place for the Rule

26(f) conference, the parties are ORDERED to file a joint notice with the court.

      Additionally, unless otherwise ordered, the parties shall exchange the initial

disclosures required under Rule 26(a)(1) at least seven (7) days before the meeting

in order to facilitate better discussions during the discovery conference. Within

fourteen (14) days of the Rule 26(f) meeting, the parties must file a joint

report of their planning meeting. The report should include a brief description

of the nature of the case; an indication of the parties' assessment of the complexity

of the case; proposed deadlines for amending the pleadings, joining additional

parties, discovery, and dispositive motions; and a statement regarding the parties'

initial interest in alternative dispute resolution. Should the parties disagree about

an item, the positions of the parties as to that item should be clearly set forth in

separate paragraphs.

      DONE this 7th day of March, 2023.



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                                              STACI G. CORNELIUS
                                              U.S. MAGISTRATE JUDGE




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